             Case 22-33553 Document 515 Filed in TXSB on 12/05/23 Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                            )
    In re:                                                  )       Chapter 11
                                                            )
    ALEXANDER E. JONES,                                     )       Case No. 22-33553 (CML)
                                                            )
              Debtor.                                       )
                                                            )

                       NOTICE OF RATE INCREASE OF AKIN GUMP
                      STRAUSS HAUER & FELD LLP AS COUNSEL TO
                  THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             1.    Pursuant to the Order Authorizing the Official Committee of Unsecured Creditors

of Alexander E. Jones to Retain and Employ Akin Gump Strauss Hauer & Feld LLP as Counsel,

Effective as of December 19, 2022 [Docket No. 157] (the “Retention Order”),1 Akin Gump Strauss

Hauer & Feld LLP (“Akin”), as counsel to the Official Committee of Unsecured Creditors

(the “Committee”), submits this notice of rate increase.

             2.    As set forth in the Application, Akin’s hourly rates are subject to periodic

adjustments (typically on January 1 of each year) to reflect economic and other conditions. See

Application, ¶ 17. The Committee has consented to such ordinary course rate increases. See

Application, Declaration of Leonard Pozner and Robert Parker in Support of the Application of

the Official Committee of Unsecured Creditors of Alexander E. Jones to Retain and Employ Akin

Gump Strauss Hauer & Feld LLP as Counsel, Effective as of December 19, 2022, ¶ 5.

             3.    Paragraph 5 of the Retention Order provides that Akin shall provide ten (10)

business days’ notice to the Debtors and the U.S. Trustee before any increases in the rates set forth

in the Application are implemented and shall file such notice with the Court.


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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Retention Order.
        Case 22-33553 Document 515 Filed in TXSB on 12/05/23 Page 2 of 3




       4.      In the ordinary course, Akin has adjusted the hourly rates charged by its

professionals and paraprofessionals. Effective as of January 1, 2024, the standard hourly rate

ranges established by Akin for professionals and paraprofessionals employed in its domestic

offices are as set forth below:

                                    Title          2024 Billing
                                                   Rate Range
                                   Partners        $1,440-$2,195

                              Senior Counsel       $1,055-$1,800

                                   Counsel         $1,295-$1,825

                                  Associates       $840-$1,350

                                  Paralegals        $255-$530




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        Case 22-33553 Document 515 Filed in TXSB on 12/05/23 Page 3 of 3




Dated: December 5, 2023              Respectfully Submitted,

                                     AKIN GUMP STRAUSS HAUER & FELD LLP

                                      /s/ Marty L. Brimmage, Jr.
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                                     -and-

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                                     Counsel to the Official Committee of Unsecured
                                     Creditors of Alexander E. Jones



                                CERTIFICATE OF SERVICE

        I certify that on December 5, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                               Marty L. Brimmage, Jr.




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